                                         Case 1:15-cv-00321-SKO     Document 534-3     Filed 09/12/23   Page 1 of 10


                                     1    CALVIN E. DAVIS (SBN 101640)
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                                     2    AARON P. RUDIN (SBN: 223004)
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                                     3    GORDON & REES LLP
                                          633 West Fifth Street, 52nd Floor
                                     4    Los Angeles, CA 90071
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                                     5    Facsimile: (213) 680-4470

                                     6    Attorneys for Defendants,
                                          GUARDIAN PROTECTION PRODUCTS, INC. and
                                     7    RPM WOOD FINISHES GROUP, INC.

                                     8
                                                                   UNITED STATES DISTRICT COURT
                                     9
                                                                  EASTERN DISTRICT OF CALIFORNIA
                                    10

                                    11    G.P.P., Inc., d/b/a GUARDIAN INNOVATIVE       CASE NO. 1:15-cv-00321 SKO
                                          SOLUTIONS,
633 West Fifth Street, 52nd Floor




                                    12                                                  DECLARATION OF CALVIN E.
                                                                    Plaintiff,          DAVIS IN SUPPORT OF
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13                                                  DEFENDANTS GUARDIAN
                                                vs.                                     PROTECTION PRODUCTS, INC.
                                    14                                                  AND RPM WOOD FINISHES
                                          GUARDIAN PROTECTION PRODUCTS, INC.            GROUP, INC.’S MOTION FOR
                                    15                                                  ATTORNEYS’ FEES
                                                                    Defendant.
                                    16                                                  Date:      October 18, 2023
                                                                                        Time:            9:30 a.m.
                                    17                                                  Courtroom: 7
                                                                                        Judge:           Hon. Sheila K.
                                    18                                                  Oberto
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                                                  DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO          Document 534-3          Filed 09/12/23     Page 2 of 10


                                     1           I, Calvin Davis, declare as follows:

                                     2           1.       I am an attorney at law licensed to practice before the United States District Court

                                     3    for the Eastern District of California, and am a Partner with the law firm of Gordon & Rees,

                                     4    LLP, attorneys of record for defendant and counterclaimant Guardian Protection Products, Inc.

                                     5    (“Guardian”) and defendant RPM Wood Finishes Group, Inc. (“RPM”), in the above-captioned

                                     6    action. I am familiar with the facts and circumstances in the above-entitled matter as they relate

                                     7    to this declaration, and if called upon, I could and would competently testify thereto.

                                     8           2.       I was admitted to the State Bar of California in 1981, and to the bar of this Court

                                     9    in 2006. Since then, a substantial portion of my practice has included the representation of
                                    10    clients in numerous aspects of business litigation, including breach of contract and

                                    11    franchise/distributor related claims. I have also been certified by the State Bar of California as a
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                                    12    specialist in the field of Franchise and Distribution law, and on information and belief I am one
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     Gordon & Rees LLP




                                    13    of less than sixty attorneys that have been so certified in California.

                                    14           3.       Gordon & Rees, LLP has been counsel of record for Guardian in this matter since

                                    15    March of 2015, and has been counsel for RPM in this matter since July 29, 2016.

                                    16           4.       From March 2015 through the present, I have been and continue to be lead

                                    17    counsel for Guardian in this action, and from July 29, 2016, I have been and continue to be lead

                                    18    counsel for RPM in this action. Among my responsibilities in that role, I have managed the time

                                    19    spent by attorneys providing services to Guardian and/or RPM, as well as the advancement of
                                    20    costs and other expenditures on its behalf. The firm invoices for services rendered on behalf of

                                    21    Guardian and/or RPM were and are generated and sent to Guardian and/or RPM on a monthly

                                    22    basis, and reflect the time spent by attorneys at Gordon & Rees LLP representing Guardian

                                    23    and/or RPM in this action.

                                    24           5.       Attached hereto as Exhibit 1, are true and correct copies of Gordon & Rees

                                    25    LLP’s invoices to Guardian and/or RPM from March 2015 through January 2018, which have

                                    26    been redacted to remove privileged attorney-client and/or attorney work product information. At
                                    27    the Court’s request, un-redacted copies of the bills can be provided to the Court to review in

                                    28    camera.
                                                                                           -2-
                                                      DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO         Document 534-3         Filed 09/12/23     Page 3 of 10


                                     1           6.       The attorneys’ fees and costs incurred by Guardian and/or RPM from March 2015

                                     2    through October 3, 2019, and in connection with the preparation of this motion, were reasonable,

                                     3    especially in light of the large amount in dispute and because the matter was heavily litigated. In

                                     4    particular, fees and costs were reasonably incurred by Guardian and/or RPM in connection with

                                     5    the pleadings and filings related to Plaintiff G.P.P., Inc. d/b/a Guardian Innovative Solutions’

                                     6    (“GIS’s”) Complaint, First Amended Complaint and Second Amended Complaint, Guardian’s

                                     7    Counterclaims as well as:

                                     8                    A) Initial disclosures exchanged by GIS and Guardian on June 9, 2015 and RPM

                                     9    on September 1, 2016;
                                    10                    B) Preparing and responding to written discovery, including numerous

                                    11    interrogatories and requests for production;
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                                    12                    C) Gathering and reviewing voluminous documents, including tens of thousands
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     Gordon & Rees LLP




                                    13    of e-mails and/or other electronically stored information, in order to respond to GIS’s document

                                    14    requests;

                                    15                    D) Producing in excess of 9,000 pages of documents and reviewing and analyzing

                                    16    in excess of 4,000 pages of documents produced by GIS;

                                    17                    E) Preparing for and defending depositions, in Charlotte, North Carolina, of:

                                    18                           1) Johnny Green on January 20, 2016, April 21, 2016 and April 5, 2017;

                                    19                           2) Darin Lease on May 26, 2016 and October 6, 2016;
                                    20                           3) Christopher Taylor on May 25, 2016 and October 7, 2016;

                                    21                           4) Ronnie Holman on May 12, 2016, October 6, 2016 and April 5, 2017;

                                    22                    F) Preparing for and taking the depositions, in Pittsburgh, Pennsylvania, of:

                                    23                           1) Charles Gibson on June 15, 2016 and March 28, 2017;

                                    24                           2) Deborah Gibson on June 16, 2016;

                                    25                           3) Frank Gibson on June 21, 2016 and March 28, 2017;

                                    26                           4) Christopher Nolan on June 23, 2016 and March 29, 2017; and
                                    27                    G) Preparing, reviewing and analyzing expert related discovery, including expert

                                    28    reports and preparing for and defending the deposition of Defendants’ expert, Karl Schulze, on
                                                                                        -3-
                                                      DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO         Document 534-3         Filed 09/12/23     Page 4 of 10


                                     1    October 27, 2016, and preparing for and taking the deposition of GIS’s expert, Peter Wrobel, on

                                     2    September 7, 2016.

                                     3                    H) Trial preparation including preparation of trial related documents,

                                     4                    I) Post-trial matters, including briefing regarding equitable issues raised by GIS,

                                     5    motions to amend judgment and motion/applications for fees and costs.

                                     6           7.       Attached hereto as Exhibit 2 is a true and correct copy of portions of the

                                     7    Transcript of Proceedings from the June 20, 2017 Jury Trial - Day 1 for this matter.

                                     8           8.       Attached hereto as Exhibit 3 is a true and correct copy of portions of the

                                     9    Transcript of Proceedings from the June 21, 2017 Jury Trial - Day 2 for this matter.
                                    10           9.       Attached hereto as Exhibit 4 is a true and correct copy of portions of the

                                    11    Transcript of Proceedings from the June 22, 2017 Jury Trial - Day 3 for this matter.
633 West Fifth Street, 52nd Floor




                                    12           10.      Attached hereto as Exhibit 5 is a true and correct copy of portions of the
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                                    13    Transcript of Proceedings from the June 23, 2017 Jury Trial - Day 4 for this matter.

                                    14           11.      Attached hereto as Exhibit 6 is a true and correct copy of portions of the

                                    15    Transcript of Proceedings from the June 27, 2017 Jury Trial - Day 5 for this matter.

                                    16           12.      Attached hereto as Exhibit 7 is a true and correct copy of portions of the Video

                                    17    Taped Deposition of Ronnie Holman introduced by GIS during Day 2 of the trial that pertained

                                    18    to GIS’s claim that RPM was an alter ego of GIS.

                                    19           13.      As noted above, I have been practicing as an attorney since 1981. I began my
                                    20    career as a trial attorney with the Department of Justice, Civil Division, in Washington, D.C.

                                    21    Over the course of my thirty-six (36) years of practice, I have represented parties in numerous

                                    22    business litigation matters involving claims of breach of contract and distribution/franchise

                                    23    issues. As a result of my experience, Guardian and RPM did not incur any unnecessary research

                                    24    costs in order for counsel to become familiar with this area of law, and I and the other attorneys

                                    25    at Gordon & Rees LLP were able to handle the defense of this matter in an efficient and

                                    26    economic manner.
                                    27           14.      At the first trial, GIS sought compensatory damages in excess of $76 million and

                                    28    punitive damages. In addition, Guardian and RPM’s defense in this action involved numerous
                                                                                      -4-
                                                      DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO              Document 534-3          Filed 09/12/23    Page 5 of 10


                                     1    hotly contested issues, including novel claims of contract interpretation, as well as multiple

                                     2    different legal theories advanced by GIS in connection with each of GIS’s affirmative claims.

                                     3             15.       On remand following GIS’s initial appeal, the Court permitted limited discovery

                                     4    as to damages only and both GIS and Guardian served limited written discovery and deposed

                                     5    each other’s Rule 30(b)(6) designees and expert witnesses, Mr. Wrobel and Mr. Schulze. After

                                     6    the close of the re-opened discovery period, on January 5, 2021, GIS served its Second

                                     7    Supplemental Initial Disclosures claiming compensatory damages of $54,148,088 arising from

                                     8    the termination of the Warehousing Distributor Agreements (“WDAs”) for Florida, Alabama,

                                     9    Tennessee, Mid-Atlantic, Cook County, Indiana, Midwest and Pennsylvania territories (not
                                    10    including the Ohio WDA), as well as $933,275 for breach of the Bob’s Discount furniture

                                    11    agreement and unspecified restitutionary damages in the amount of Guardian’s post-termination
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                                    12    revenues minus costs in each territory. Attached hereto as Exhibit 8 is a true and correct copy of
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                                    13    GIS’s Second Supplemental Initial Disclosures. Ex. 8 at pg. 6 ¶ 3 (Computation of Damages)

                                    14             16.       At the second trial, GIS argued for as much as $55 million in compensatory

                                    15    damages. The jury’s verdict found that GIS had failed to mitigate its damages in the amount of

                                    16    $6 million, and also awarded GIS $6 million as to its claims for breach of the WDAs (not

                                    17    including Ohio).

                                    18             17.       Attached hereto as Exhibit 9 is a true and correct copy of portions of the

                                    19    Transcript of Proceedings from the December 6, 2021, Jury Trial - Day 1 for this matter.
                                    20             18.       Attached hereto as Exhibit 10 is a true and correct copy of portions of the

                                    21    Transcript of Proceedings from the December 10, 2021 Jury Trial - Day 5 for this matter.

                                    22             19.       Attached hereto as Exhibit 11 is a true and correct copy of portions of GIS’s

                                    23    September 12, 2022 opening Brief on cross-appeal.

                                    24             20.       Attached hereto as Exhibit 12 is a true and correct copy of portions of GIS’s

                                    25    January 13, 2023 Response and Reply Brief on cross-appeal.

                                    26             21.       During the June 23, 2023, oral argument before the Ninth Circuit, counsel for GIS
                                    27    argued that the purported error by this Court was not harmless because, among other things, “the

                                    28    jury’s    figure     came     in    much   closer     to     Guardian’s     number   than   to   ours.”
                                                                                              -5-
                                                     DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO           Document 534-3       Filed 09/12/23       Page 6 of 10


                                     1    https://www.ca9.uscourts.gov/media/video/?20230623/22-15569/ at 2:42-2:47.

                                     2            22.     In addition to myself, the following attorneys and paralegals also assisted in G4S’

                                     3    defense in this action. Myself, Mr. Rudin, Ms. Drugan and Mr. Collis spent significant time

                                     4    handling this matter. However, all who billed time on this matter, including relatively small

                                     5    amounts, are listed below:

                                     6                    a.      Aaron P. Rudin, Senior Counsel from March 2015 to approximately

                                     7    September 2016, at which time Mr. Rudin was elevated to Partner, with Gordon & Rees LLP,

                                     8    and with approximately twenty (20) years of experience in complex business litigation, handling

                                     9    all phases of litigation including pre-litigation discovery, pre-trial discovery, dispositive motions,
                                    10    mediations, arbitrations and trials;

                                    11                    b.      Margaret M. Drugan, Senior Counsel with Gordon & Rees LLP with
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                                    12    approximately twenty-three (23) years of experience, at the time of the initial trial, in complex
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     Gordon & Rees LLP




                                    13    business litigation, handling all phases of litigation including pre-litigation discovery, pre-trial

                                    14    discovery including extensive knowledge of e-discovery issues, dispositive motions, mediations,

                                    15    arbitrations and jury trials to verdict;

                                    16                    c.      Gary A. Collis, former Senior Counsel with Gordon & Rees LLP with

                                    17    approximately twenty (20) years of experience, at the time of the initial trial, in complex

                                    18    business litigation, handling all phases of litigation including pre-litigation discovery, pre-trial

                                    19    discovery, discovery issues (including substantial experience with e-discovery issues),
                                    20    dispositive motions and mediations;

                                    21                    d.      Isabelle Talleyrand, former contract attorney with Gordon & Rees LLP,

                                    22    with approximately sixteen (16) years of litigation experience, at the time of the initial trial, with

                                    23    more than ten (10) years of experience with large scale document reviews;

                                    24                    e.      Filip Reich, former contract attorney with Gordon & Rees LLP, with

                                    25    approximately thirteen (13) years of litigation experience, at the time of the initial trial, with

                                    26    more than ten (10) years of experience with large scale document reviews;
                                    27                    f.      Tamar Karaguezian, former Senior Counsel with Gordon & Rees LLP

                                    28    with approximately sixteen (16) years of experience, at the time of the initial trial, in business
                                                                                       -6-
                                                    DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO           Document 534-3         Filed 09/12/23      Page 7 of 10


                                     1    litigation;

                                     2                      g.     Elizabeth B. Vanalek, Associate with Gordon & Rees LLP with

                                     3    approximately seventeen (17) years of experience, at the time of the initial trial, in complex

                                     4    business litigation;

                                     5                      h      Steven R. Inouye, associate with Gordon & Rees LLP with approximately

                                     6    eleven (11) years of experience, at the time of the initial trial, in complex business litigation;

                                     7                      i.     Eleanor M. Welke, former Senior Counsel with Gordon & Rees LLP with

                                     8    approximately eight (8) years of experience, at the time of the initial trial, in complex business

                                     9    litigation;
                                    10                      j.     Connie K. Chang, former Associate with Gordon & Rees LLP with

                                    11    approximately six (6) years of experience, at the time of the initial trial, in complex business
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                                    12    litigation;
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     Gordon & Rees LLP




                                    13                      k.     Candice S. Cho, former Associate with Gordon & Rees LLP with

                                    14    approximately four (4) years of experience, at the time of the initial trial, in complex business

                                    15    litigation;

                                    16                      l.     Crystal W. Yu, Associate with Gordon & Rees LLP with more than three

                                    17    (3) years of experience, at the time of the initial trial, in complex business litigation;

                                    18                      m.     Allison L. Andrews, former ABA-accredited Paralegal with Gordon &

                                    19    Rees LLP with more than thirty (30) years of experience, at the time of the initial trial, in
                                    20    complex business litigation;

                                    21                      n.     Randall J. Stubblefield, former ABA-accredited Paralegal with Gordon &

                                    22    Rees LLP; seventeen (17) years of experience, at the time of the initial trial, in complex business

                                    23    litigation;

                                    24                      o.     Alexander Simonenko, former ESI/Technical Support Services Specialist

                                    25    with Gordon & Rees LLP;

                                    26                      p.     Hilary W. Burg, a Project Analyst and Reference Librarian with Gordon &
                                    27    Rees LLP, with fourteen years of experience.

                                    28            23.       As a direct result of the time necessarily spent in providing a defense for Guardian
                                                                                              -7-
                                                        DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO          Document 534-3       Filed 09/12/23     Page 8 of 10


                                     1    and RPM against GIS’s claims, my ability, and the ability of other attorneys and paralegals at

                                     2    Gordon & Rees LLP to spend time on other matters was limited.

                                     3            24.      The hourly rate for Guardian and RPM’s counsel in this matter, at the time of the

                                     4    initial trial and initial appeal, was $420/hour for Partners, $375/hour for Senior Counsel,

                                     5    $325/hour for Associates, $295 for Contract Attorneys; $150/hour for paralegals, and $150 for

                                     6    ESI/Technical Support Services Specialists and Project Analysts. The rates represent a discount

                                     7    from the standard rates typically charged by attorneys at Gordon & Rees LLP for litigation of

                                     8    this type and in this forum.

                                     9            25.      Following is a chart setting forth the amount billed to Guardian by each
                                    10    attorney/paralegal with Gordon & Rees LLP on this matter between March 2015 and July 28,

                                    11    2016:
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                                    12
                                           Attorney/Timekeeper        Position/Years of Experience      Hours      Rate/Hr     Total Billed
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13
                                          Calvin E. Davis           Senior Partner/36 years            564.7      $420/hr     $237,174.00
                                    14
                                          Gary A. Collis            Senior Counsel/20 years            670.9      $375/hr     $251,587.50
                                    15
                                          Margaret M. Drugan        Senior Counsel/23 years            198.4      $375/hr     $74,400.00
                                    16
                                          Tamar Karaguezian         Senior Counsel/16 years            34.1       $375/hr     $12,787.50
                                    17
                                          Aaron P. Rudin            Senior Counsel/15 years            23.2       $375/hr     $8,700.00
                                    18
                                          Elizabeth Vanalek         Associate/17 years                 29.5       $325/hr     $9,587.50
                                    19
                                          Connie K. Chang           Associate/6 years                  1.6        $325/hr     $520.00
                                    20
                                          Candice S. Cho            Associate/3 years                  1.2        $325/hr     $390.00
                                    21
                                          Isabelle Talleyrand       Contract Attorney/16 years         185        $295/hr     $54,575.00
                                    22
                                          Filip Reich               Contract Attorney/13 years         194.9      $295/hr     $57,495.50
                                    23
                                          Randall Stubblefield      Paralegal/17 years                 60.2       $150/hr     $9,030.00
                                    24
                                          Allison L. Andrews        Paralegal/30 years                 1.4        $150/hr     $210.00
                                    25
                                          TOTALS:                                                      1,965.1                $716,457.00
                                    26
                                    27            26.      Attorneys at Gordon & Rees LLP, along with paralegal support, spent a total of

                                    28    not less than 1,965.1 hours in defending against all of GIS’s claims against Guardian and/or
                                                                                       -8-
                                                    DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                         Case 1:15-cv-00321-SKO          Document 534-3       Filed 09/12/23      Page 9 of 10


                                     1    prosecuting Guardian’s counterclaims from March 2015 to July 29, 2016, with a value of not less

                                     2    than $716,457.00. That time can be roughly broken down as follows: 1) approximately 200

                                     3    hours attributable to research, analysis, factual assessment and/or strategy; 2) approximately 260

                                     4    hours attributable to pleadings, motions and related hearings; and 3) approximately 1,500 hours

                                     5    attributable to written discovery, document production (including gathering, review and

                                     6    production of voluminous amounts of electronically stored information), depositions and

                                     7    discovery disputes (including all of the time billed by Ms. Talleyrand, Mr. Reich, Ms.

                                     8    Karaguezian and Ms. Vanalek.)

                                     9           27.       Following is a chart setting forth the amount billed to Guardian and RPM by each
                                    10    attorney/paralegal/support staff on this matter from July 29, 2016 through January of 2018:

                                    11
                                           Attorney/Timekeeper        Position/Years of Experience        Hours    Rate/Hr    Total Billed
633 West Fifth Street, 52nd Floor




                                    12
                                          Calvin E. Davis           Senior Partner/36 years           961.2       $420/hr     $403,704.00
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13
                                          Aaron P. Rudin            Partner/15 years                  657.4       $420/hr     $276,108.00
                                    14
                                          Gary A. Collis            Senior Counsel/20 years           256.3       $375/hr     $96,112.50
                                    15
                                          Margaret M. Drugan        Senior Counsel/23 years           390.5       $375/hr     $146,437.50
                                    16
                                          Aaron P. Rudin            Senior Counsel/15 years           6           $375/hr     $2,250.00
                                    17
                                          Eleanor M. Welke          Senior Counsel/8 years            14.9        $375/hr     $5,587.50
                                    18
                                          Steven R. Inouye          Associate/11 years                3.9         $325/hr     $1,276.50
                                    19
                                          Crystal W. Yu             Associate/3 years                 101.7       $325/hr     $33,052.50
                                    20
                                          Randall Stubblefield      Paralegal/17 years                145.1       $150/hr     $21,765.00
                                    21
                                          Allison L. Andrews        Paralegal/30 years                6.7         $150/hr     $1,005.00
                                    22
                                          Alex Simonenko            ESI/Tech Support Services         .5          $150/hr     $75.00
                                    23
                                          Hilary W. Burg            Project Analyst/Ref. Librarian    .3          $150/hr     45.00
                                    24
                                          TOTALS:                                                     2,544.50                $987,418.50
                                    25
                                                                                                      2,434.2
                                    26
                                    27           28.       Attorneys at Gordon & Rees LLP, along with paralegal support, spent a total of
                                    28    not less than 2,544.50 hours in defending against all of GIS’s claims against Guardian and RPM,
                                                                                         -9-
                                                   DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
                                       Case 1:15-cv-00321-SKO            Document 534-3            Filed 09/12/23    Page 10 of 10


                                       1   and prosecuting Guardian’s counterclaims from July 29, 2016 to the present, with a value of not

                                       2   less than $987,418.50.     That time can be roughly broken down as follows: 1) 112 hours

                                       3   attributable to research, analysis, factual assessment and/or strategy; 2) 580 hours attributable to

                                       4   pleadings, motions, dispositive motions and related hearings; 3) 380 hours attributable to written

                                       5   discovery, document production, depositions and discovery disputes; 4) 1,200 hours attributable

                                       6   to trial preparation and trial; and 5) 270 hours attributable to post-trial motions and briefs.

                                       7          29.     In addition, an additional 20 hours of time were incurred by Mr. Rudin and myself

                                       8   in preparing the motion for attorneys’ fees and costs, and supporting documents thereto, filed

                                       9   concurrently herewith, at a value of not less than $8,400. I anticipate an additional 10 hours of
                                      10   time will be spent replying to any opposition by GIS and attending any hearing, at a value of not

                                      11   less than $4,200.00.
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                                      12          30.     Based on my experience, my review of case authority from the Fresno Division of
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       Gordon & Rees LLP




                                      13   the Eastern District of California as well as my discussions with similarly experienced counsel

                                      14   working on similar matters to this action, it is my understanding that the rates charged by Gordon

                                      15   & Rees LLP in this case are commensurate with the prevailing market rates in the community for

                                      16   similarly experienced counsel working on this kind of matter.

                                      17          I declare under penalty of perjury under the laws of the United States that the foregoing is

                                      18   true and correct and that this declaration was executed on September 12, 2023, in Los Angeles,

                                      19   California.
                                      20                                                        /s/ Calvin E. Davis
                                      21                                                          Calvin E. Davis, Declarant

                                      22

                                      23

                                      24

                                      25

                                      26
                                      27

                                      28
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                                                     DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
